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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
BRYAN WHITEHURST,
individually and on behalf of all
others similarly situated,
Plaintiff,
V. Case No. 3:22-cv-755-BJD-PDB
SKECHERS USA, INC.,

Defendant.
/

ORDER OF DISMISSAL

This matter is before the Court on the Amended Notice of Voluntary
Dismissal Without Prejudice (Doc. 7; Notice) filed by Plaintiff on August 9,
2022. Inthe Notice, Plaintiff states that he is voluntarily dismissing the claims
raised in this action. See Notice at 1. Upon review of the docket, the Court
notes that Defendant has neither served an answer nor a motion for summary
judgment. Accordingly, pursuant to Rule 41(a)(1)(A)@), Federal Rules of Civil
Procedure, it is hereby ORDERED:

1. This case is DISMISSED without prejudice.

2. The Clerk of the Court is directed to close the file.
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DONE and ORDERED in Jacksonville, Florida this q day of

August, 2022. A (
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BRIAN J. DAVIS”
United States District Judge

 

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Copies to:

Counsel of Record
